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iouthern District of Georgia
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‘at Aug 31 10:17:30 EDT 2024

p)7351 WEST CENTRAL LLC
TN C/O KHOA PHUNG

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irgas National Welders Inc
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/o Becket and Lee LLP

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alvern PA 19355-0701

tlanta Computer Sol Inc
735 Fox Creek Dr
amming, GA 30040-6659

itomatic Fire Systems of Augusta
326 Mike Padgett Hwy
igusta Ga 30906-3741

ikeley County Tax Collector
103 Highway 52

103 Highway 52

meks Corner, SC 29461-3007

irkeley Electric Cooperative
'32 US-52 W
mcks Corner, SC 29461-5010

rlin’s Restaurant Supply Inc.
51 Rivers Ave.
rth Charleston, SC 29406-6303

rke County Health Department
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ynesboro, GA. 30830-0238

106 N Boundary St
Manning SC 29102-3204

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PO Box 873
Aiken, SC 29802-0873

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Parkway Plaza of Summerville Property Owner

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N. Charleston, SC 29406-9122

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c/o Glenn D. Moses, Esq., Venable LLP
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Miami, FL 33131-2118
opeyes’s Louigiama Gifoiier, ONY~5-SDB Doc#:4yé4atkerFiled:08/31/24 Entered:08/31/2r811G123:30 Page:6 of 8

507 Blue Lagoon Drive
dami, FL 33126-2029

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The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

51 West Central, LLC
9 Russell Lane
lpitas, CA 95035

)Dominion\Energy South Carolina, Inc.
0 Operation Way

-OSC1A

yce, SC 290

Charleston Water System
P.O. Box 568
Charleston,\ SC 29402-0568

|

Georgia Department of Revenue
Compliance Division

ARCS Bankruptcy

1800 Century Blvd NE, Suite 9100
Atlanta, GA 3

NN

Dominion \Energy South Carolina, Inc.
Attn: Agent or Officer

220 Operation Way, MC C222

Cayce, SC 00

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(d) Georgia Department of Revenue
Bankruptcy Section
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Atlanta, GA 30345-3209
tYanta, GA 30345

erkeley Locksmith Inc
28 Tall Pines Rd.
adson, $.C, 29456

Minneapolis,

55480-720

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Addresses marked (c) above for the following entity/entities were corrected
as required by the USPS Locatable Address Conversion System (LACS).

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

1) 7351 West Central LLC

i)Kyle A. Brannon
iynard Nexsen PC

130 Main Stre

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\)Columbia Meats, Inc.

|

|

|

)Merchants |

) Thomas R. Walker
erson Ferdinand LLP

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)ZSC Enterprises, LLC

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West Palm|Beach, FL 33402-0711

(d)Georgia Power Company

c/o Thomas R, Walker

Pierson Ferdinand LLP

260 Peact

Atlanta, PA 30303-1292
|

(u) Julia Rodgers

ree Street NW, Suite 2200

(u) VanNess Holdings Grovetown, LLC

End of Label Matrix
Mailable recipients
Bypassed recipients
Total

200
16
216

(u)Belvina Investment Group, LLC

(u) Cintas

(u) Hanmi Bank, assignee of Ascentium Capita

|
|

|

(u) SBH Foods PLK, LLC

(u) William Paul Means, Jr.
